                Case 2:12-cv-03319-SDW-SCM Document 71 Filed 03/28/19 Page 1 of 2 PageID: 695



                                               UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF NEW JERSEY


                          UNITED STATES OF AMERICA and         Civil Action No. 2:12-cv-3319
                          the STATES OF NEW JERSEY and
                          NEW YORK, ex rel. KENNETH W.
                          ARMSTRONG

                                        Plaintiff & Relator,
                                  vs.

                          ANDOVER SUBACUTE & REHAB CENTER
                          SERVICES ONE, INC., et al.,

                                        Defendants.

                                            APPLICATION FOR EXTENSION OF TIME TO

                                              ANSWER, MOVE, OR OTHERWISE REPLY

                                                 [Local Civil Rule 6.1(b)]

                                  Application is hereby made for a Clerk s Order extending

                          time within which defendant Sanjay K. Jain, M.D. may answer,

                          move, or otherwise reply to Relator’s Second Amended False Claims

                          Act Complaint filed by plaintiff(s) herein and it is represented

                          that:

                                  1. No previous extension has been obtained;

                                  2. Service of Process was effected on March 18, 2019; and

                                  3. Time to Answer, Move or otherwise Reply expires on April

HOAGLAND, LONGO,
MORAN, DUNST &
                          1, 2019.
DOUKAS, LLP

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08901

701 WILTSEY'S MILL ROAD
BLDG. B, SUITE 202
HAMMONTON, NJ 08037

169 MAPLE AVENUE
                                                                ______________________________
RED BANK, NJ 07701
                          Dated:     March 28, 2019             Benjamin H. Haftel, Esq.
                Case 2:12-cv-03319-SDW-SCM Document 71 Filed 03/28/19 Page 2 of 2 PageID: 696



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                                                               Attorneys for Defendant
                                                               Sanjay K. Jain, M.D.



                              The above application is ORDERED GRANTED extended to

                          __________________________.


                          ORDER DATED: _________________.


                                                               WILLIAM T. WALSH, Clerk



                                                         By:   __________________________
                                                               Deputy Clerk




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